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           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                       No. 4:23-CR-00159

    v.                                          (Chief Judge Brann)

CEDRIC LODGE,
KATRINA MACLEAN, and
JOSHUA TAYLOR,

         Defendants.

                                  ORDER

   AND NOW, this 10th day of July 2024, IT IS HEREBY ORDERED that:

   1.    The Court will hold a telephonic status conference on August 5, 2024,

         at 10:00 a.m.

   2.    Counsel for Government shall initiate the call to Chambers at 570-

         323-9772. At the time the call is placed, all counsel shall be on the

         line and prepared to proceed.

   3.    The Court’s preference is that counsel do not participate in telephonic

         conference calls by cellular phone or other mobile device.


                                          BY THE COURT:


                                          s/ Matthew W. Brann
                                          Matthew W. Brann
                                          Chief United States District Judge
